        Case 1:20-cv-00778-KG-JFR Document 20 Filed 12/30/20 Page 1 of 1




                         INT THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

CHRISTINA SUTTMAN-VILLARS,
An individual,

       Plaintiff,

                                                      NO. 1:20cv00778 KG/JFR
vs.

ARGON MEDICAL DEVICES, INC.,
REX MEDICAL, INC., d/b/a REX MEDICAL, L.P.
and REX MEDICAL, L.P.,

       Defendants.

                             ORDER GRANTING
         DEFENDANT ARGON MEDICAL DEVICES, INC.’S UNOPPOSED MOTION
            TO EXTEND THE TIME TO FILE ITS REPLY BRIEF IN SUPPORT
                    OF DEFENDANT’S MOTION TO DISMISS


       THIS MATTER having come before the Court on Defendant Argon Medical Devices, Inc.’s

Unopposed Motion to Extend the Time to File Its Reply Brief in Support of Defendant’s Motion to

Dismiss and the Court having considered the Motion finds good cause to grant the motion.

       IT IS THEREFORE ORDERED that Defendant Argon Medical Devices, Inc. has an extension

to January 12, 2021, to file its Reply Brief in Support of Defendant’s Motion to Dismiss.




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                                                      UNITED STATES DISTRICT JUDGE




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